Case 1:12-cv-00691-RGA Document 48 Filed 08/05/13 Page 1 of 1 PageID #: 521



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


 SEMCON TECH, LLC,
                                                                      C.A. No. 12-691-RGA
        v.

 XILINX INC.,




        On this day, Plaintiff Semcon Tech, LLC ("Plaintiff') and Defendant Xilinx Inc.

 ("Xilinx") announced to the Court that they have settled Plaintiffs claims for relief

 against Xilinx and Xilinx's counterclaims for relief against Plaintiff asserted in this case.

 Plaintiff and Xilinx have therefore requested that the Court dismiss Plaintiffs claims for

 relief against Xilinx with prejudice and dismiss Xilinx's counterclaims for relief against

 Plaintiff without prejudice as moot and with all attorneys' fees, costs and expenses taxed

 against the party incurring same. The Court, having considered this request, is of the

 opinion that their request for dismissal should be granted.

        IT IS THEREFORE ORDERED that Plaintiffs claims for relief against Xilinx

 are dismissed with prejudice and Xilinx' s counterclaims for relief against Plaintiff are

 dismissed without prejudice as moot. IT IS FURTHER ORDERED that all attorneys'

 fees, costs of court and expenses shall be borne by each party incurring the same.



        Dated:   ~· 5/ 11J@
